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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


UNITED STATES OF AMERICA

v.                                                                  Cr. No. H-21-281

HIEN NGOC VO

                   UNOPPOSED MOTION FOR CONTINUANCE

        Hien Ngoc Vo, moves this Court for a 30-day continuance of the motions

deadline, pretrial conference and trial, and respectfully shows as follows:

        Hien Ngoc Vo is charged with operating an unlicensed money transmitting

business in violation of 18 U.S.C. § 1960. The pretrial motions deadline was April

11, 2022, the pretrial conference is set for May 2, 2022, and trial is set for May 9,

2022.

        The parties are working toward a resolution of this case without trial and

granting this motion will aid in that process. Mr. Vo respectfully submits that the

best interests of justice served by granting this motion for a continuance substantially

outweigh the interests of the defendant and the community in a speedy trial, and that

failure to grant the continuance would deprive defense counsel of sufficient time to

prepare for trial. The government is unopposed to this Motion for Continuance.

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                               Respectfully submitted,

                               MARJORIE A. MEYERS
                               Federal Public Defender
                               Southern District of Texas No. 3233
                               Texas State Bar No. 14003750

                               By /s/ Dennis Hester
                               DENNIS HESTER
                               Assistant Federal Public Defender
                               Attorney-in-Charge
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                     CERTIFICATE OF CONFERENCE

      I certify that I conferred with Assistant United States Attorney Rodolfo

Ramirez and determined that the United States is unopposed to this motion for

continuance.


                                      s/ Dennis Hester




                         CERTIFICATE OF SERVICE

      I certify that on April 26, 2022, a copy of the foregoing Unopposed Motion to

Continue was served by Notification of Electronic Filing and was delivered by email

to the office of Assistant United States Attorney Rodolfo Ramirez.



                                      s/ Dennis Hester




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